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                              UNITED STATES DISTRICT COURT
                               for the District of New Jersey [LIVE]
                                            Newark, NJ


     SARAH ELALEM
                                          Plaintiff,
     v.                                                 Case No.: 2:19−cv−04891−SRC−CLW
                                                        Judge Stanley R. Chesler
     CNI ADVANTAGE, INC, et al.
                                          Defendant.

              60 DAY ORDER ADMINISTRATIVELY TERMINATING ACTION


          It having been reported to the Court that the above−captioned action has been settled,
          IT IS on this 20th day of January, 2022,
         ORDERED that this action and any pending motions are hereby administratively
     terminated; and it is further
        ORDERED that this shall not constitute a dismissal Order under the Federal Rules of
     Civil Procedure; and it is further
         ORDERED that within 60 days after entry of this Order (or such additional period
     authorized by the Court), the parties shall file all papers necessary to dismiss this action
     under the Federal Rules of Civil Procedure or, if settlement cannot be consummated,
     request that the action be reopened; and it is further
         ORDERED that, absent receipt from the parties of dismissal papers or a request to
     reopen the action within the 60−day period, the Court shall dismiss this action, without
     further notice, with prejudice and without costs.




                          /s/ Stanley R. Chesler
                          ____________________________________________________
                          STANLEY R. CHESLER United States District Judge
